Case 1:09-cV-00597-LI\/|B-TCB Document 284 Filed 09/01/11 Page 1 of 1 PagelD# 4376

DLA Piper Lr_P (us)
The Marbury Building
6225 Smith Avenue

DLA P|PER Baltirnore. lv'lary|anc| 21209~3600

www.d|apiper.com

Mic|'relle J. Dickinson
rniche||e.dickinson@dlapiper.com
T 410.580.4137

F 410.580.3137

September 1, 2011
V.'A ELEC TRONrc FrLrNG

The Honorable Leonie lVl. Brinl<ema

United States District Judge

United States District Court for the Eastern District of Virginia
Albert V. Bryan Courthouse

401 Courthouse Square

A|exandria, Virginia 22314

Re: Intersectr'ons lnc., et at v. Joseph C. Loomis, et al., Case No. 1:09-cv»00597-LMB~TCB

Dear ..luclge Brinkema:

As you will reca|i, we represent the plaintiffs in the above action. This letter is submitted with the
cooperation of the defendants

lssues have arisen that have delayed the closing of the parties’ court-approved settlement As a resultl
Mr_ Loomis has filed a motion with the bankruptcy court seeking an order compelling lntersections lnc.
and Net Em‘orcersl lnc. to conclude the settlement The bankruptcy court has scheduled a hearing on the
motion for September 14, 2011.

At this point the parties request that the stay of this action be extended through October 3, 2011, with the
parties to provide a status report by such date. |n addition, if helpful to the Court, the parties can provide
copies of recent filings with the bankruptcy court that provide detail about the issues that have delayed
the closing of the settlement

Thank you for your consideration

Respe tfully submi ,

l\/lichelle J. Dickinson

cc: Timothy J. |V[cEvoy, Esquire (vie electronic mail)
Jenni lV|. Loomis (via overnight courier)

EAST\46731352.1

